                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                     WESTERN DIVISION
                                    CASE NO. 5:20-CR-12-lM




 UNITED STATES OF AMERICA,                       )
                       Plaintiff,                )
                                                 )
 V.                                              )                     ORDER
                                                 )
 HECTOR LUCIANO PEREZ                            )
 VALENZUELA,                                     )
                                 Defendant.      )




       In order that trial activities may continue without interruption, the court has directed the

deputy clerk to provide lunch for the j"µrors. The cost of these meals total $168.42 plus tip in the amount of

$15.00 for a total of $183.42 . The clerk is DIRECTED to pay Jimmy Johns the sum of $183.42 using the

Court's purchase credit card.

       SO ORDERED this the 8th day of June , 2023.


                                                            f2~1 f IYlY-&Vs y:,
                                                             RICHARD E. MYERS II
                                                             CHIEF UNITED STATES DISTRICT JUDGE




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